      Case 3:22-cv-00267-BAJ-RLB        Document 145      04/11/24   Page 1 of 15




                      UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA

MMR CONSTRUCTORS, INC. CIVIL ACTION

VERSUS

JB GROUP OF LA, LLC, ET AL. NO. 22-00267-BAJ-RLB


                              RULING AND ORDER

       Before the Court is Plaintiffs Motion for Contempt of Preliminary

Injunction (Doc. 119), which contends that Defendant JB Group of LA, LLC d/b/a

Infrastructure Solutions Group (ISG) has violated the Court's May 20, 2022

Preliminary Injunction, (Doc. 23), and requests that the Court sanction and hold ISG

in contempt. For reasons that follow, Plaintiffs Motion will be GRANTED. The Court

holds that ISG is in contempt of the Court's Preliminary Injunction, and a special

master will be appointed to oversee ISG's compliance with the Court's Preliminary


Injunction moving forward.


   I. BACKGROUND

       This case is about ISG allegedly stealing confidential business information and

trade secrets from MMR Constructors, Inc. (MMR), a competitor of ISG and a


prominent company in the field of electrical and instrumentation contracting. (Doc.


53). Numerous key employees at MMR have left to join ISG, and M1VIR contends that

several of those employees wrongfully took and used MMR's proprietary information


at ISG. (Id.).
     Case 3:22-cv-00267-BAJ-RLB        Document 145       04/11/24    Page 2 of 15




       As noted in the Court's Order denying Defendants Joint Rule 12(b)(6) Motion

to Dismiss, (Doc. 69), MMR's allegations have already been closely reviewed by the


Court, in conjunction with the Court's adjudication ofMMR's Motion for a Temporary


Restraining Order (TRO), (Doc. 2). The Court granted MMR's TRO request on April

26, 2022. (Doc. 7). The Court then found that the materials that Defendants allegedly

stole from MMR, which included customer and contact lists, estimating tools,


customer-specific pricing, and detailed plans for MMR's ongoing and prospective


projects in Orlando, Florida, qualified as "trade secrets" under the Defend Trade


Secrets Act, 18 U.S.C. § 1836, et seq. (DTSA), and its Louisiana counterpart, the


Louisiana Uniform Trade Secrets Act, La. R.S. § 51:1431, et seq. (LUTSA). (Id. at pp.


9-10). The Court thereafter enjoined ISG from:

     (1) using MJVIR's trade secrets and confidential business information, including,
        but not limited to, all files that reside on any storage device, file-sharing
        account, or email account used by any former MMR employee that now work
        for ISG,
     (2) accessing or copying MMR s trade secrets and confidential business
        information in the possession of any former MMR employee that now works
        for ISG,
     (3) destroying or altering any information that may be relevant to the suit, and
     (4) failing to return the information and external storage devices named in the
        original Complaint and any other documents that contain MMR's
        confidential business information.


(Id. at pp. 13-14). MM.R and ISG subsequently stipulated to a Preliminary Injunction

with substantively the same terms as above, which the Court accepted and entered


into the docket on May 20, 2022. (Doc. 23). The parties also agreed to a Forensic


Protocol, (Doc. 26), that allowed MMR to investigate specified ISG computing devices,

networks, and accounts for further dissemination of MMR s protected information.
       Case 3:22-cv-00267-BAJ-RLB        Document 145      04/11/24   Page 3 of 15




The results of that investigation were such that MMR has now amended its

Complaint twice to add additional former MMR employees as defendants. (Docs. 29,


53).

       On March 27, 2023, almost a year after the entry of the Preliminary Injunction,


MMR deposed Walter "Ben" Huffman, who was recruited from MMR by ISG to serve


as its Project Controls Manager. (Doc. 126 at p. 6). At this deposition, Huffman


confirmed that ISG was using MMR's information before the Court issued the

Preliminary Injunction, specifically stating that MMR's "green sheets" and "overhead


sheets," materials designed to generate estimates for clients, had been used by ISG.


(Id. at pp. 7-8). Huffraan admitted that such use violated the form confidentiality

agreements that MMR uses for its employees. (Id. at p. 9). Huffman also admitted


that he used an MMR database to create a replica timekeeping database for ISG, and

that the MMR database was stored on his computer. (Id. at p. 11).


       In response to this final admission, counsel for ISG unilaterally terminated the


deposition to assess whether Huffman's actions posed a conflict such that he would


be required to retain his own counsel. (Doc. 87 at p. 5). The Court ordered ISG to


cover MMR's deposition costs for the early termination of Huffman's deposition, and


for Huffman to appear for a second deposition. (Doc. 87). Huffman's timekeepmg


database is not in use at ISG. (Doc. 130 at p. 7).


       Huffman was deposed for the second time on February 8, 2024. (Doc. 126 at


pp. 13-14). At this deposition, Huffman testified that, despite the Court's Preliminary

Injunction having been in place for nearly two years, several estimating tools and
       Case 3:22-cv-00267-BAJ-RLB       Document 145       04/11/24    Page 4 of 15




management programs in use at ISG were identical to, and were built from,


equivalent tools and programs developed by MMR. (Doc. 126 at pp. 21, 24, 26-27, 33-


34, 36, 39). Those materials consisted of labor and material sheets" (L&JVE sheets),

 Overhead Top Sheets, a "Job Analysis Program," and a proposal tracking program


called "the Bible." (Id. at pp. 20, 30, 37). In addition to these tools and programs,


Huffman revealed that he had been using- MMR's budget and spend (BS) reports to

build replica internal financial (ITFN) reports for ISG. (Doc. 126 at pp. 39-41).

        ISG does not contest that Huffman used MMR's estimating tools and programs

to build materials for ISG. (Doc. 130 at p. 8). ISG's position is that Huffman's

testimony "blindsided" the company, and that while it was aware that "some of the


spreadsheets had a similar look and general purpose to the types of spreadsheets seen


at M.M.R, it was not concerning as this type and form is common in the industry." {Id.


at pp. 8-9). On this final point, ISG maintains that the information and programs


allegedly stolen from. MMR are neither confidential nor qualify as trade secrets. (Id.


at p. 8).


       MMR filed a Motion for Contempt of Preliminary Injunction several weeks

after Huffman's second deposition. (Doc. 119). ISG has replied, and MMR has


responded thereto. (Docs. 130, 137).


   II. LEGAL STANDARD

        A party commits contempt when he violates a definite and specific order of the


court requiring him to perform or refrain from performing a particular act or acts


with knowledge of the court's order." Travelhost, Inc. v. Blandford, 68 F.3d 958, 961-
      Case 3:22-cv-00267-BAJ-RLB        Document 145       04/11/24    Page 5 of 15




62 (5th Cir. 1995). The moving party bears the burden of proving contempt, by clear

and convincing evidence. Donohue v. Wang, No. 1:22-CV-00583-DAE, 2023 WL


6317451, at 2 (W.D. Tex. Sept. 28, 2023), report and recommendation adopted, No.


1:22-CV-00583-DAE, 2023 WL 7103270 (W.D. Tex. Oct. 27, 2023) (citing Topletz v.

Skinner, 7 F.4th 284, 299 (5th Cir. 2021); Whitcraft v. Brown, 570 F.3d 268, 271 (5th

Cir. 2009)). In this context, clear and convincing evidence is "that weight of proof


which produces in the mind of the trier of fact a firm belief or conviction as to [the]

truth of the allegations sought to be established, evidence so clear, direct, weighty

and convincing as to enable the fact finder to come to a clear conviction, without


hesitancy, of the truth of the precise facts of the case. Johnson Serv. Grp., Inc. v.


France, No. 3:10-CV-1988-D, 2011 WL 2273529, at *1 (N.D. Tex. June 9, 2011)


(quoting Travelhost, Inc. v. Blandford, 68 F.3d 958, 961 (5th Cir. 1995) (internal

quotation marks omitted)).

       A party seeking a contempt finding must establish "that (1) a court order was

in effect, (2) the order required specified conduct by the respondent, and (3) the

respondent failed to comply with the court's order. United States v. City of Jackson,


Miss., 359 F.3d 727, 731 (5th Cir. 2004). "A contempt proceeding does not open to


reconsideration the legal or factual basis of the order alleged to have been disobeyed

and thus become a retrial of the original controversy." Bd. Of Supervisors of La. State


Univ. v. Smack Apparel Co., 574 F. Supp. 2d 601, 604 (E.D. La. 2008) (citing Mark's


Herend Imports, Inc. v. Diamond & Gem Trading USA, Co., 112 F.3d 1296, 1307 (5th


Cir. 1997)).
      Case 3:22-cv-00267-BAJ-RLB         Document 145       04/11/24     Page 6 of 15




       "The only issue in a civil contempt hearing is the respondent's compliance with


the court's order; noncompliance can be contemptuous even [in] the absence of the


respondent's willfulness." Travelers Cas. and Sur. Co. of Am. v. Padron, No. SA-15-


CV-200-DAE, 2017 WL 8895641, at *5 (W.D. Tex. Aug. 31, 2017) (citing Am. Airlines,

Inc. v. Allied Pilots Ass n, 228 F.3d 574, 581 (5th Cir. 2000)). Further, "[g]ood faith is

not a defense to civil contempt; the question is whether the alleged contemnor


complied with the court's order." Chao v. Transocean Offshore, Inc., 276 F.3d 725,728


(5th Cir. 2002).

      Finally, should a party be deemed in contempt of a court order, federal courts


have "broad discretion in assessing sanctions to protect the sanctity of its decrees and


the legal process," and the "proper aim of judicial sanctions for civil contempt is full


remedial relief, that such sanctions should be adapted to the particular circumstances


of each case, and that the only limitation upon the sanctions imposed is that they be

remedial or coercive but not penal. Smack Apparel Co., 574 F. Supp. at 604 (citing


Test Masters Educ. Servs., Inc. v. Singh, 428 F.3d 559, 582 (5th Cir. 2005); Fla. Steel


Corp. v. Nat'l Labor Relations Bd., 648 F.2d 233, 239 (5th Cir. 1981)) (internal

quotations omitted). A contempt order may be "employed for either or both of two


purposes: to coerce the defendant into compliance with the court's order, and to


compensate the complainant for losses sustained." Am. Airlines, Inc., 228 F.3d at 585


(quoting United States v. United Mine Workers of America, 330 U.S. 258, 303-04

(1947)) (internal quotations omitted).




                                            6
      Case 3:22-cv-00267-BAJ-RLB        Document 145      04/11/24   Page 7 of 15




   III. ANALYSIS

            a. Contempt of Preliminary Injunction

       Here, it is clear that ISG is in contempt of the Court's May 22, 2022

Preliminary Injunction. The Court has informed ISO that the estimating tools

allegedly stolen from MMR qualify as trade secrets on numerous occasions. (Docs. 7,


69). ISG does not contest that its L&M sheets and its Overhead Top Sheets, each of

which are estimating tools and each of which were used by ISG after the entry of the

Preliminary Injunction, were built from precedent MMR materials that Huffman

either retained from his employment with MM.R or was sent from other former MJVIR


employees. (Doc. 130 at p. 8). On this basis alone, the Court could hold ISG in


contempt.


      Additional support for such a holding, however, exists in light ofISG's reliance

on MMR's materials to construct its Job Analysis Program, its Bible, and possibly its


IFTN reports. Regarding the Bible, ISG contends that a "Bible" is a widely used term

in the telecommunication space to describe a job creation and tracking system. (Doc.


130 at pp. 10-11). As in the case of the estimating tools, the Court has already


determined and informed ISG that MMR's Bible is, at the very least, confidential.

(Docs. 7, 69). ISG does not contest that portions ofM]V[R's Bible were used to create


its own Bible, which was in use until February 2024. (Doc. 130 at pp. 10-11). These


actions, again, violate the Court s Preliminary Injunction.


      MMR's Job Analysis Program keeps company management informed about the


progress of the company's projects, and allows management to allocate manpower as



                                          7
      Case 3:22-cv-00267-BAJ-RLB           Document 145   04/11/24   Page 8 of 15




necessary. (Doc. 126 at pp. 30-31). It is again uncontroverted that ISG copied its Job


Analysis Program from MMR and used this program, albeit allegedly only once, after


the entry of the Preliminary Injunction. (Doc. 130 at p. 10). ISG contests that MMR's

Job Analysis Program is neither confidential nor a trade secret. (Id.). The Court


disagrees.


       The DTSA states that all forms and types of "business" or "technical"


information, and all "programs," are trade secrets if the owner has taken reasonable


measures to keep such information secret and the information derives independent


economic value from not being generally known or available to other entities who can


obtain economic value from the use of the information. 18 U.S.C. § 1839(3). ISG does


not contest that MMR's Job Analysis Program is not publicly available. Indeed, were


that the case then Huffman would not have needed to maintain the Job Analysis

Program on an external storage device. (Doc. 126 at pp. 31-32). ISG instead appears


to assert that MMR's Job Analysis Program is neither confidential nor a trade secret


because, in ISG's view, MMR did not take reasonable measures to keep its


information private. (Doc. 130 at p. 3).


      Again, the Court has already concluded that MMR's measures to protect its


information were reasonable. (Doc. 7 at p. 9). M.M.R required employees to sign


various confidentiality agreements and acknowledge policies that protected the


confidentiality of its information, limited employee access to certain confidential

business information and password protected that information, and monitored


transfer of confidential information through data loss prevention software. (Id.).



                                            8
      Case 3:22-cv-00267-BAJ-RLB           Document 145    04/11/24   Page 9 of 15




These measures are sufficient to qualify the protected information as trade secrets.


See Unif. Trade Secrets Act § l(4)(ii) cmts. (drafters of Uniform Trade Secrets Act, on

which the LUTSA is based, explain that "reasonable efforts to maintain secrecy" may


include advising employees of the existence of a trade secret or limiting access to a


trade secret on a "need to know basis").


       Further, it is apparent that MMR derives economic value from its custom-built


Job Analysis Program because such a system helps the company with client


satisfaction and retention through improved project management and reporting, and


that economic value is dependent on MMR's Job Analysis Program not being


generally available to others in the space. (Doc. 126 at pp. 30-31). Accordingly, MMR's


Job Analysis Program does indeed qualify as a trade secret. ISG accessed and used a


version of this Job Analysis Program to construct their own replica system after the


entry of the Preliminary Injunction and in violation thereof. (Doc. 130 at p. 10). This

act alone, as in the cases ofISG's use ofMMR's Green Sheets, Overhead Top Sheets,


and Bible, is sufficient for the Court to hold ISG in contempt.


      Alternatively, even were the Court to ultimately determine that MMR's Job


Analysis Program is not a trade secret, the plain language of MMR's form


confidentiality agreement, which was signed by each former MMR employee now


employed by ISG, (Doc. 1 at p. 6), shows that the Job Analysis Program was

confidential to MMR and its current employees. MlVIR's "Employer


Loyalty/Confidentiality/Trade Secrets/Conflict of Interest Agreement" provides, in

relevant part, that



                                            9
     Case 3:22-cv-00267-BAJ-RLB         Document 145       04/11/24    Page 10 of 15




       "[d]uring and after the term of his employment, the employee agrees to
       hold as confidential all knowledge and information he has acquired in
       connection with his/her employment with MMR, and which is not otherwise
       generally available to the public or third parties, including but not limited to .
            programs . . . and reproductions (all of which is deemed
        Confidential and a trade secret) thereof relating the business ofMMR."


(Doc. 1-4 at p. 1) (emphasis added). MMR's Job Analysis Program was demonstrably


confidential by these terms. The Preliminary Injunction ordered ISG to cease from


using MMR's confidential business information. (Doc. 23). ISG therefore alternatively


violated the Preliminary Injunction by accessing and using MMR's confidential

information to create their replica Job Analysis Program.


       Because each of the above instances is sufficient for the Court to hold ISG in

contempt, the Court does not reach an analysis of whether ISG's IFTN reports are


violative of the Court's Preliminary Injunction. As opposed to the L&M sheets, the

Overhead Top Sheets, the Bible, and the Job Analysis Program, Huffman testified

that he provided the IFTN report template to ISG management prior to entry of the

Preliminary Injunction. (Doc. 126 at pp. 39-41). However, Huffman also testified that


he used an MMR BS report to create the IFTN report template. (Id. at p. 41). ISG is

advised that, to the extent the company is currently using an IFTN report template


that is based on or derives from the format or programming of MMR's BS reports,


rather than third-party software as it contends, (Doc. 130 at p. 13), ISG is in further


violation of the Preliminary Injunction.


      ISG may not rely on its supposed ignorance of Huffman's activities to avoid a


finding of contempt. As noted, "[g]ood faith" is not a defense. Transocean Offshore,


Inc., 276 F. 3d at 728. Even if it were, it is not clear to the Court that ISG attempted
                                           10
     Case 3:22-cv-00267-BAJ-RLB          Document 145       04/11/24    Page 11 of 15




to comply with the Preliminary Injunction in good faith, or that it was entirely

oblivious to Huffman's activities.


       In constructing the replica systems for ISG, Huffman was apparently sent


precedent documents from various members of ISG's corporate team who were


employed by MMR. (Docs. 126 at pp. 20, 137 at p. 3). Huffman further testified that

he worked under and with former MIVIR employees to create these databases, and


that approval for these replica systems ultimately fell to ISG's executive officers —


each of whom was previously an MMR employee and each of whom was thereby


intimately familiar with MMR's materials and programs. (Doc. 126 at pp.21, 23, 25,


36, 39). The Court also pauses to note that nearly a year passed between Huffman's


first deposition, in which Huffman admitted that he used MMR's information to build

a duplicate timekeeping system, and Huffman's second deposition, when he confessed


to using MMR materials to build the other tools and programs discussed above. The


Court has not been provided with any evidence that ISG performed any sort of


internal investigation during this time period to determine whether the other

programs and tools created by Huffman were based on MMR's information, despite


being emphatically put on notice of the possibility thereof.1


       ISG informed the Court at the April 2 hearing on MMR's JVIotion that it did not

question Huffman because it did not want to run the risk of influencing his testimony.


Yet even if the Court accepts ISG's reasoning as to its communication with Huffman,




1 Although not a mitigating factor, such a remedial response may have suggested good faith
and diligent adherence to the Preliminary Injunction.

                                            11
     Case 3:22-cv-00267-BAJ-RLB         Document 145      04/11/24    Page 12 of 15




ISG still fails to explain what prevented the company from independently taking a

closer look at its estimating tools and management programs. This closer look may


have revealed that portions of the programs and tools built by Huffman displayed an

MM.R physical address, provided a link to MMR s online website, listed information

for projects that predated ISG's entry into the telecommunications market, and


presented other characteristics that indicate the tools and programs were directly


copied from MMR. (Doc. 126 at pp. 21, 33, 34).


       Nonetheless, it is again a party's actions, not their subjective intent, that


determines whether a party is in contempt of a court order. Transocean Offshore, Inc.,


276 F. 3d at 728. Here, MMR has shown by clear and convincing evidence that ISG

has acted, on numerous occasions, in defiance of the Court's Preliminary Injunction.


          b. Sanctions


      Having determined that ISG is in contempt of Preliminary Injunction, the

Court now turns to the matter of appropriate sanctions. The kinds and types of


sanctions to be assessed against ISG are, again, within the Court's "broad discretion"


so long as those sanctions are remedial in nature. Smack Apparel Co., 574 F. Supp.


at 604 (citing Singh, 428 F.3d at 582; Fla. Steel Corp., 648 F.2d at 239).


      MMR has requested the appointment of a special master to monitor ISG's


compliance with the Preliminary Injunction. The Court may appoint a special master


pursuant to Federal Rule of Civil Procedure 53 when appointment of a master is


necessary to "address pretrial and posttrial matters that cannot be effectively and


timely addressed by an available district judge or magistrate judge of the district."


                                          12
     Case 3:22-cv-00267-BAJ-RLB        Document 145      04/11/24    Page 13 of 15




When considering whether to appoint a special master, a court "must consider the


fairness of imposing the likely expenses on the parties and must protect against


unreasonable expense or delay." Fed. R. Civ. P. 53(a)(3). "Generally, special masters


are appointed in exceptional situations involving complex matters." Gonzales v. Lone


Star Wireline Servs., LLC, No. CV-SA-15-CA-00882-DAE, 2016 WL 11586102, at *3


n.l (W.T). Tex. July 25, 2016). However, courts occasionally appoint special masters


to ensure compliance with their preliminary injunctions. E.g., Total Safety U.S., Inc.


v. Rowland, No. CIV.A. 13-6109, 2014 WL 1691551, at *2 (E.D. La. Apr. 29, 2014);


Monroe v. Meeks, No. 3:18-CV-00156-NJR, 2021 WL 5882129, at *1 (S.D. 111. Dec. 13,


2021).


         The circumstances here warrant the appointment of a special master. The


Court has neither the time nor the expertise to review the materials in use at ISG for


remnants of MMR's confidential business information. This case began with


allegations of multiple former MMR employees stealing thousands of files each,

(Doc. 1), and, as evidenced by both ISGs sentiments that they were unaware of


Huffman's use ofMIVIR's materials and the MMR code embedded within certain ISG

programs, the proliferation and use ofMMR's confidential information at ISG may be


widespread. (Doc. 130 at p. 9). The appointment of a special master, with ISG to cover


related costs and expenses, neither runs the risk of being an unfair sanction or of


causing unnecessary delay. Because MMR was subjected to unnecessary costs in


bringing the present Motion, requiring ISG to pay for the special-master-related


expenses is correspondingly a remedial sanction. See Total Safety v. Rowland, R. Doc.



                                          13
     Case 3:22-cv-00267-BAJ-RLB        Document 145       04/11/24   Page 14 of 15




321, No. 13-6109 at p. 14 (E.D. La. Oct. 29, 2014) (available at Doc. 119-17). Upon the


appointment of the special master, the Court shall take up the issue of apportioning


Plaintiffs attorney s fees and costs in bringing the present Motion. Finally, the Court

believes that the introduction of a special master will promote the efficiency with

which this matter can be adjudicated, since appointment of a special master will

presumably forestall any motions of this nature in the future.


      Regarding the other sanctions ordered below, the Court concludes that such


actions are necessary to coerce ISG into compliance with the Preliminary Injunction.


   IV. CONCLUSION

      Accordingly,


      IT IS ORDERED that MMR's Motion for Contempt of Preliminary

Injunction (Doc. 119) be and is hereby GRANTED.

      IT IS FURTHER ORDERED that ISG immediately cease using all replicas

of MMR s protected information, including the L&M. sheets, Overhead Top Sheets,


Job Analysis Program, and all other databases and reporting tools created by Ben


Huffman, and all other documents and files that are in any way based on MMR's


information.


      IT IS FURTHER ORDERED that MMR and ISO will submit one (1)

memorandum each recommending at most two (2) persons to serve as the court-


appointed special master by April 17, 2024. Each recommendation shall be

accompanied by a curriculum vitae and a description of any relevant experience. The


special master will be tasked with ensuring ISG's compliance with the Preliminary


                                          14
     Case 3:22-cv-00267-BAJ-RLB       Document 145     04/11/24   Page 15 of 15




Injunction and the sanctions discussed below. ISG will be responsible for expenses


related to the appointment of the special master.


        IT IS FURTHEK ORDERED that MMR and ISO meet and confer regarding

the list of ISG employees from whom MMR will receive signed acknowledgements

attesting that the designated employee has received a copy of the Preliminary

Injunction and that said employee cannot use any confidential MMR information or


any program or tool derivative therefrom.


      IT IS FURTHER ORDERED that MMR and ISG meet and confer regarding

the scope and parameters of the Remediation Protocol that the court-appointed


special master will administer in order to cleanse ISG's systems of MMR's


confidential information.


      IT IS FURTHER ORDERED that, prior to the submission of any bid on

future work, ISG shall meet and confer with counsel for MMR to ensure that no


confidential MMR information was used in the creation of said bid. Information


shared during this process with counsel for MMR shall be deemed for attorney's eyes


only, and counsel for MMR shall not share any details regarding any such bid with

MMR outside of confirming that the company s confidential information was not used.

                                                               1^
                                 Baton Rouge, Louisiana, this * day of April, 2024




                                                ^      ,CL.
                                            JUDGE BRIAN A. JAjXSON
                                            UNITED STATES DISTRICT COURT
                                            MIDDLE DISTRICT OF LOUISIANA


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